
COLE, Circuit Judge,
concurring in part and dissenting in part.
Plaintiff-Appellant Aubrey Stanley alleges that Defendant-Appellee Randy Vining violated his constitutional rights by reading his legal mail on two separate occasions. Although I concur in the majority opinion to the extent that it affirms the dismissal of Stanley’s retaliation and supervisor-liability claims, I respectfully dissent from the rest of the majority opinion because I believe Stanley has made out a cognizable legal-mail claim. In affirming the summary dismissal of Stanley’s complaint, the majority fails to follow our well-established precedent on this issue. Further, by dismissing his complaint on this procedural posture, the majority potentially exposes Stanley to the penalty provisions of 28 U.S.C. § 1915(g) unjustly, which would limit his access to the courts in the future. For these reasons, I respectfully dissent.
I.
In Wolff v. McDonnell, 418 U.S. 539, 94 S.Ct. 2963, 41 L.Ed.2d 935 (1974), the Supreme Court addressed the constitutional implications of prison policies regarding incoming legal mail. See id. at 574-77, 94 S.Ct. 2963. By the time the case reached the Supreme Court, the prison authorities had retreated from their original policy, which required that all incoming mail be opened and read, and conceded that “they [could not] open and read mail from attorneys to inmates.” Id. at 575, 94 S.Ct. 2963. The Court held that the policy subsequently adopted by the prison, which pro*772hibited prison officials from reading mail clearly marked as originating from an attorney and required that officials open such mail only in the presence of the prisoner, passed constitutional muster. Id. at 576-77, 94 S.Ct. 2963. In approving this policy, the Court stated: “As to the ability to open the mail in the presence of inmates, this could in no way constitute censorship, since the mail would not be read. Neither could it chill such communications, since the inmate’s presence insures that prison officials will not read the mail.” Id. at 577, 94 S.Ct. 2963 (emphasis added).
As we recently noted, “[o]ur own circuit has a series of cases dating back more than twenty years establishing the constitutional dimension of a prisoner’s right to receive mail.” Merriweather v. Zamora, 569 F.3d 307, 316 (6th Cir.2009). In Parrish v. Johnson, 800 F.2d 600 (6th Cir.1986), for instance, we concluded that “[a] capricious interference with a prisoner’s incoming mail based upon a guard’s personal prejudices violates the First Amendment” and noted that a number of circuits “have held that mail relating to a prisoner’s legal matters may not be read.” Id. at 604. In Knop v. Johnson, 977 F.2d 996 (6th Cir.1992), we noted that, in addition to First Amendment protections, legal mail concerning criminal matters was subject to the Sixth Amendment’s protection of the attorney-client relationship. Id. at 1012. Further, while we approved Michigan’s requirement that prisoners affirmatively opt-in to have their legal mail specially treated, we concluded that prison officials must give prisoners written notice of the policy, could not require prisoners to opt-in again after being transferred to a different facility, and could not require prisoners to identify specific attorneys whose correspondence would be subject to the policy. Id. In Lavado v. Keohane, 992 F.2d 601 (6th Cir.1993), we reversed the grant of summary judgment for the defendants on a claim mirroring Stanley’s claims: that a piece of mail from law enforcement officials marked “Special Mail — Open only in the presence of the inmate” was read by a prison official in the prisoner’s presence. Id. at 603, 611. At that time, we noted that while our case law “may not have clearly established that ... reading [properly marked legal mail] in inmates’ presence violates constitutional rights in and of itself, we have held that opening/reading inmates’ mail in ‘arbitrary’ or ‘capricious’ fashion does violate inmates’ First Amendment rights.” Id. at 609-10 (footnote omitted).
More recently, in Sallier v. Brooks, 343 F.3d 868 (6th Cir.2003), we affirmed a jury award of damages based on prison officials’ opening of a prisoner’s constitutionally protected legal mail outside of his presence. See id. at 872. In doing so, we expressed “heightened concern” about prison policies dealing with incoming legal mail “because a prison’s security needs do not automatically trump a prisoner’s First Amendment right to receive mail, especially correspondence that impacts upon or has import for the prisoner’s legal rights, the attorney-client privilege, or the right of access to the courts.” Id. at 874; see also Jones v. Caruso, 569 F.3d 258, 267 (6th Cir.2009) (“[A] review of regulations governing ‘legal mail’ is subject to a heightened standard.”). While Sallier addressed only allegations that legal mail had been opened outside the prisoner’s presence, Sallier, 343 F.3d at 872, we noted that “even constitutionally protected mail can be opened (although not read) and inspected for contraband. The only requirement is that such activity must take place in the presence of the recipient, if such a request has been made by the prisoner.” Id. at 874 (emphasis added).
II.
The majority’s analysis is flawed because it imposes upon Stanley a higher standard than is required to make out a *773legal-mail claim, contrary to the constitutional concerns that have given rise to special treatment of inmate legal mail and the clear holdings of our precedent. While our legal-mail cases often have focused on the requirement that legal mail be opened only in the presence of the recipient inmate, this requirement is best understood as a prophylactic rule designed to deter prison officials from reading and tampering with incoming legal mail. Indeed, as noted above, the Wolff Court specifically recognized that the rationale behind prohibiting prison officials from opening legal mail outside the recipient prisoner’s presence was to deter the officials from reading such mail. Wolff 418 U.S. at 577, 94 S.Ct. 2963. Given this relationship between the two policies, the actual reading of a prisoner’s legal mail is a more severe constitutional violation than the opening of the mail outside the recipient prisoner’s presence because the prohibition on the latter is designed to avoid the former. Cf. Merriweather, 569 F.3d at 317 (“Sallier did not claim that the officials actually read his mail, only that they had delivered the mail to him already opened.” (emphasis added)).
Legal-mail claims rest primarily on First Amendment grounds, but often also implicate the Sixth Amendment, the attorney-client privilege, and access-to-the-courts rights. The majority imposes a higher standard for making out a legal-mail claim by treating Stanley’s claim as a standard access-to-the-courts or Sixth Amendment claim. To make out an access-to-the-courts claim, a plaintiff is required to “plead and prove prejudice stemming from the asserted violation.” Pilgrim v. Littlefield, 92 F.3d 413, 416 (6th Cir.1996). Imposing such a requirement on legal-mail claims would undermine the goal of our legal-mail jurisprudence, which is to avoid an unjustifiable chilling of prisoners’ First and Sixth Amendment rights, and the attorney-client relationship. But see Corsetti v. McGinnis, 24 Fed.Appx. 238, 241 (6th Cir.2001) (“Regarding the alleged reading of Corset-ti’s legal mail and legal materials, Corsetti has not alleged, nor is there any evidence, that any papers were seized or that the defendants’ reading of the papers caused actual injury or ‘hindered [his] efforts to pursue a legal claim.’ ” (quoting Lewis v. Casey, 518 U.S. 343, 351, 116 S.Ct. 2174, 135 L.Ed.2d 606 (1996))). The conduct alleged in Stanley’s complaint is just the type of activity that the Constitution prohibits.
Indeed, assuming Stanley’s well-pled allegations are true, as we must, Yining’s conduct not only violated Stanley’s constitutional rights, it violated clearly established law. A review of Lavado is revealing. In that case, the plaintiff appealed the district court’s grant of qualified immunity to the prison officials. We held that, as of 1993, it was not yet clearly established that a prison guard simply reading a prisoner’s legal mail in his or her presence was a constitutional violation. Lavado, 992 F.2d at 609. However, “it was clearly established ... that prisoners’ mail could not be opened or read in [an] arbitrary or capricious fashion.” Id. at 610. We then reversed the grant of qualified immunity to the prison official on the plaintiffs claim that a single piece of his mail was read by the guard in his presence because “the allegations of blatant disregard for established regulations give rise to an inference of arbitrary or capricious action.” Id. Stanley is entitled to this same inference because the regulations1 *774and alleged actions at issue here are substantively the same as those at issue in Lavado. Assuming, as we must, that Stanley’s allegations are true, Vining blatantly disregarded prison regulations when he read Stanley’s legal mail, giving rise to an inference that Vining acted arbitrarily or capriciously. Thus, even if the law stood exactly as it did in 1987 when the alleged actions in Lavado took place, Stanley not only has made out a valid claim, he has made out a claim that Vining violated clearly established constitutional law.
In fact, our case law since that time has established even more clearly that Vining’s alleged conduct was unconstitutional. See Merriweather, 569 F.3d at 317 (denying qualified immunity for prison officials who allegedly opened and read legal mail outside a prisoner’s presence) (“The fact that attorney mail garnered protected status was clear by at least 1987. Prison officials would also be on notice as of 2003 that opening properly marked legal mail alone, without doing more, implicates both the First and Sixth Amendments because of the potential for a ‘chilling effect.’ Finally, it has been clear in this circuit for sixteen years that ‘blatant disregard’ for mail handling regulations concerning legal mail violates constitutional protections. Two or three pieces of mail opened in an arbitrary or capricious way suffice to state a claim.” (citations omitted)). Indeed, our holding in Lavado put prison officials on notice that disregarding prison regulations prohibiting them from reading properly marked legal mail, as is alleged here, gives rise to a constitutional claim. The majority’s attempt to rest its reasoning on Lava-do finds little support since, in doing so, it impermissibly imports the higher “clearly established” standard for overcoming a qualified immunity defense when no such defense has been pleaded in this case,2 and it disregards the actual holding of the case.3
III.
The majority opinion departs from our clearly established precedent on this issue and denies Stanley the opportunity to litigate what appear to be valid constitutional claims. In doing so, the majority risks creating just the kind of chilling effect on prisoner rights that we have noted on several occasions. The majority certainly does not liberally construe Stanley’s complaint despite his status as a pro se litigant.4 Boswell v. Mayer, 169 F.3d 384, 387 (6th Cir.1999) (“Pro se plaintiffs enjoy the benefit of a liberal construction of their pleadings and filings.”). Further, by affirming the district court’s erroneous dismissal of Stanley’s complaint for failure to state a claim on which relief may be grant*775ed under 28 U.S.C. § 1915(e)(2), it potentially, and unjustly, exposes him to the penalty provisions created by the Prison Litigation Reform Act. See 28 U.S.C. § 1915(g). This means that Stanley not only has been denied his day in court in this case, but he may be barred from filing future complaints in federal court during his incarceration, should any cognizable claims arise.
Therefore, I would reverse and remand this case to the district court to allow Stanley the opportunity to proceed with the legal-mail claim set forth in his complaint. See Baker v. Mukasey, 287 Fed.Appx. 422, 425 (6th Cir.2008) (reversing a sua sponte dismissal of a prisoner’s complaint alleging that prison authorities opened and read his legal mail outside of his presence for failure to state a claim under § 1915(e)(2) because the prisoner had “at least presented a statement of an actionable claim”).

. The regulations at issue in Lavado stated that properly marked legal mail could “not be read” and could be opened “only in the presence of the inmate for inspection for physical contraband and the qualification of any enclosures as special mail.” Lavado, 992 F.2d at 607 n. 1. Similarly, the regulations at issue in this case state that properly marked legal mail “shall be opened and inspected for money, *774controlled substances, and other physical contraband in the prisoner's presence. The content of the mail shall not be read or skimmed." Mich. Dep’t of Corr. Policy Directive 05.03.118 (emphasis added).


. In fact, Vining has never presented any defense in this case — the district court dismissed the case under 28 U.S.C. § 1915(e), before Vining was required to respond to Stanley's allegations.


. Notably, the magistrate judge's report, which the district court approved and adopted in dismissing Stanley's claims, specifically cited Lavado for the proposition that prison officials "may not read” mail from an inmate’s attorney. (Magistrate Judge's Report and Recommendation 4.)


. Indeed, the majority opinion suggests that the letters in question might not qualify as legal mail because "there is no allegation that any of the mail read by the prison guard was mail from his lawyer or in any way pertained to legal representation.” (Maj. Op. 770.) This ignores the fact that Stanley consistently refers to the correspondence as legal mail and that, tellingly, the prison officials treated both letters as legal mail by opening them in Stanley’s presence.

